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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA


  My Pillow, Inc.,
                                                      Case No. 21-cv-1015 (PJS/DTS)
         Plaintiff,

  v.                                                  ORDER

  US Dominion, Inc. et al.,

         Defendants.


       This case is one of several ongoing federal actions between My Pillow, or its

owner, Michael Lindell, and US Dominion, or one of its affiliated entities (Dominion).

E.g., US Dominion, Inc. et al. v. My Pillow, Inc. et al., No. 1:21-cv-445 (D.D.C. filed

Feb. 22, 2021); My Pillow, Inc. v. US Dominion, Inc. et al., No. 21-cv-1015 (D. Minn. filed

Apr. 19, 2021); Lindell v. US Dominion, Inc. et al., No. 21-cv-1332 (D. Minn. filed June 3,

2021). Dominion moves to stay answering the complaint in this case, arguing that

because of the ongoing litigation in the District of the District of Columbia (the D.C. action),

efficiency and conservation of resources compel the stay. Defs.’ Mem. 1, Dkt. No. 24.

Staying this action pending the resolution of certain motions in the D.C. action, however,

will have little, if any, impact on efficiency and conservation of resources. Consequently,

the motion to stay is denied.

                                           FACTS

       Dominion develops voting machine software and hardware and its products were

used in the 2020 election. On February 22, 2021, Dominion sued My Pillow, Inc. and

Michael Lindell for defamation and deceptive trade practices in the District of Columbia

stemming from Lindell’s comments questioning the legitimacy of the 2020 presidential

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election and suggesting that Dominion was responsible for “stealing the 2020 election.”

Compl., D.D.C. Dkt. No. 1.

       On April 19, 2021, My Pillow filed this suit against Dominion, pleading claims of

First and Fourteenth Amendment violations and reprisal under Section 1983, tortious

interference with contractual relations, and abuse of process. Compl., Dkt. No. 1. My

Pillow alleges that Dominion has engaged in an unlawful campaign (dubbed “lawfare”)

intended to intimidate My Pillow and its suppliers and customers by threatening and

commencing litigation against “anyone who speaks out against Dominion’s work on behalf

of the government in administering the election.” Compl. ¶ 2. Those threats, retaliatory

tactics, and abusive lawsuits, My Pillow alleges, is reprisal against entities or individuals—

like My Pillow or Lindell—who have spoken out against Dominion in an effort to “restore

integrity to the election process.” Compl. ¶¶ 2–4. My Pillow’s allegations stem, in part but

not exclusively, from Dominion’s commencement of the D.C. action. On the same day My

Pillow filed this action, it also moved to dismiss the D.C. action for failure to state a claim,

lack of personal jurisdiction, and improper venue. D.D.C. Dkt. No. 30 at 1. The parties

have briefed that motion and the D.C. court heard the motion on June 24, 2021. D.D.C.

Dkt. No. 39.

       A week before Dominion’s answer to the Complaint in this matter was due (May

19, 2021) the parties stipulated to extend Dominion’s time to respond until June 21, 2021.

Defs.’ Mot. Extn., Dkt. No. 8. This Court granted that extension. Order, Dkt. No. 11.

Dominion now asks that this Court stay its deadline to answer the complaint until the D.C.

court resolves My Pillow’s motion to dismiss, or, alternatively, grant another thirty-day

extension. As discussed below, the motion is denied.



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                                        ANALYSIS

I.     Legal Standard

       “[T]he power to stay proceedings is incidental to the power inherent in every court

to control the disposition of the causes on its docket with economy of time and effort for

itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936);

Cottrell v. Duke, 737 F.3d 1238, 1248 (8th Cir. 2013). A district court has “broad discretion

to stay proceedings as an incident to its power to control its own docket.” Clinton v. Jones,

520 U.S. 681, 706 (1997); Sierra Club v. U.S. Army Corps of Eng’rs, 446 F.3d 808, 816

(8th Cir. 2006). This discretion requires courts to exercise “judgment, which must weigh

competing interests and maintain an even balance.” Landis, 299 U.S. at 254; Cottrell, 737

F.3d at 1248. The Supreme Court has cautioned moderation in granting stays of litigation.

In re Wholesale Grocery Prods. Antitrust Litig., No. 09-md-2090, 2013 WL 6533154, at *1

(D. Minn. Dec. 13, 2013) (quoting Landis, 299 U.S. at 255).

       The proponent of a stay, here Dominion, bears the burden of establishing its

necessity. Clinton, 520 U.S. at 708; Kreditverein der Bank Austria v. Nejezchleba, 477

F.3d 942, 945 n.3 (8th Cir. 2007). This burden requires Dominion to show a specific

hardship or inequity that would result if the Court denied the stay and ordered Dominion

to proceed with the litigation. Jones v. Clinton, 72 F.3d 1354, 1364 (8th Cir. 1996) (Beam,

J., concurring) (citing Landis, 299 U.S. at 254–56). Courts have interpreted the movant’s

burden to be so substantial as to create a presumption favoring the party opposing the

stay. Id. at 1365.

       Several factors influence a court’s decision to stay proceedings, such as docket

control, conservation of judicial resources, and actions that facilitate just determination of



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pending cases, Edens v. Volkswagen Grp. of Am., Inc., No. 16-cv-750, 2016

WL3004629, at *1 (D. Minn. May 24, 2016), but the court must also examine “1) the

plaintiffs’ private interest in proceeding expeditiously with civil litigation balanced against

the prejudice against the plaintiffs if delayed; 2) the private interests of, and burden on,

the defendants; 3) the interests of the Courts; 4) the interests of persons not parties to

the civil litigation; and 5) the public interest,” KK Motors, Inc. v. Brunswick Corp., No. 98-

cv-2307, 1999 WL 246808, at *1 (D. Minn. Feb. 23, 1999). Ultimately, the decision

whether to stay a case is discretionary. Smith v. S.E.C., 129 F.3d 356, 362 (6th Cir. 1997)

(“When a federal court is presented with . . . a duplicative suit, it may exercise its

discretion to stay the suit before it, to allow both suits to proceed, or, in some

circumstances, to enjoin the parties from proceeding in the other suit.”).

II.    Parallel Litigation

       Dominion encourages the Court to stay this action because it substantially

overlaps with the D.C. action—the first-filed lawsuit—which raises the threat of

“duplicative litigation.”1 Parallel litigation exists when “substantially the same parties

litigate substantially the same issues in different forums.” Lexington Ins. Co. v. Integrity

Land Title Co., 721 F.3d 958, 968 (8th Cir. 2013).2 The first-to-file doctrine, which governs

how courts manage parallel federal litigation, is a generally recognized doctrine of comity


1 At the hearing on its motion to stay, Dominion suggested that this action and the D.C.
action were so overlapping that My Pillow was required to bring its claim as a compulsory
counterclaim, Fed. R. Civ. P. 13(a); St. Jude Med., Inc. v. Lifecare Intern., Inc., 250 F.3d
587, 594 (8th Cir. 2001), but stopped short of asserting this as an independent grounds
for a stay.
2 See Wright v. Walden University, LLC, Nos. 16-cv-4037 & 16-cv-4402, 2017 WL

1435717, at *2 n.5 (D. Minn. Apr. 21, 2017) (“Although Lexington addressed the power
of federal courts to stay actions pending parallel state litigation, the . . . same
reasoning applies to two federal suits in different forums.”).
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among federal courts. See Smith v. McIver, 22 U.S. (9 Wheat) 532, 535 (1824). To

conserve judicial resources and avoid duplicative litigation or inconsistent rulings, this

prudential rule permits a federal court to stay litigation where another federal court, having

concurrent jurisdiction in an action that was filed first, has priority to consider the case.

Keymer v. Mgmt. Recruiters Int’l, Inc., 169 F.3d 501, 503 n.2 (8th Cir. 1999); Nw. Airlines,

Inc. v. Am. Airlines, Inc., 989 F.2d 1002, 1006 (8th Cir. 1993). Generally, parties are not

permitted to maintain overlapping litigation in multiple federal courts, so managing

“duplicative claims comports with [the] long-standing general principle of avoiding

duplicative litigation.” Blakely v. Schlumberger Tech. Corp., 648 F.3d 921, 932 (8th Cir.

2011); see Missouri ex rel. Nixon v. Prudential Health Care Plan, Inc., 259 F.3d 949, 954

(8th Cir. 2001) (stating that “[p]laintiffs may not pursue multiple federal suits against the

same party involving the same controversy at the same time” and that “federal courts may

decline to exercise their jurisdiction in order to prevent [such] duplicative litigation”).

       The first-to-file doctrine, however, is not an uncompromising rule of chronology,

but gives courts discretion to manage overlapping litigation by dismissing, staying, or

transferring a duplicative case. Nw. Airlines, Inc., 989 F.2d at 1005 (“This first-filed rule is

not intended to be rigid, mechanical, or inflexible, but is to be applied in a manner best

serving the interests of justice.”); Sondel v. Nw. Airlines, Inc., 56 F.3d 934, 938 (8th Cir.

1995) (“Pursuant to the first-filed rule, a district court has the discretion to dismiss the

later action . . . or transfer it if an action involving the same parties and issues was earlier-

filed in a different district.”). Parties may overcome the presumption favoring the first-filed

litigation using the same factors courts consider when determining whether a change of




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venue is appropriate: the interest of justice and convenience of parties and witnesses.

See 28 U.S.C. § 1404(a).3

       No definitive standard exists to determine which cases are sufficiently overlapping

or duplicative to warrant a stay. Many courts look to whether there is “substantial overlap”

between the various actions, see, e.g., Baatz v. Columbia Gas Transmission, LLC, 814

F.3d 785, 791 (6th Cir. 2016); Cadle Co. v. Whataburger of Alice, Inc., 174 F.3d 599, 603

(5th Cir. 1999), or whether the cases are “substantially similar,” see, e.g., Kohn Law Grp.,

Inc. v. Auto Parts Mfg. Miss., Inc., 787 F.3d 1237, 1239 (9th Cir. 2015); Coll. Licensing

Co. v. Am. Cas. Co. of Reading, Pa., 713 F.3d 71, 78 (11th Cir. 2013); Futurewei Tech.,

Inc. v. Acacia Research Grp., 737 F.3d 704, 707 (Fed. Cir. 2013); Honeywell Int’l Inc. v.

Int’l Union, United Auto., Aerospace and Agric. Implement Workers of Am., 502 Fed.

Appx. 201, 204 (3d Cir. 2012). The rule does not, however, apply to actions simply sharing

common questions of fact. See Conrad v. Colvin, No. 14-cv-336, 14-cv-338 & 14-cv-483,

2015 WL 4094244, at *6 (D. Minn. July 7, 2015) (analyzing first-filed rule only in terms of

overlapping parties and claims).

       A.     Similarity of the Parties

       Apart from Dominion naming Lindell as a co-defendant in the D.C. action, the

parties are identical. But there is no requirement that the parties be identical; there must

only be some commonality or privity between the parties. Oleg Cassini, Inc. v. Serta, Inc.,




3See Nw. Airlines, Inc., 989 F.2d at 1006–07; 15 CHARLES ALAN WRIGHT ET AL., FEDERAL
PRACTICE AND PROCEDURE § 3854 (“Exceptions to the first-filed rule apply when the [28
U.S.C.] Section 1404(a) factors weigh in favor of giving priority to the second action. Thus,
courts have found exceptions to the first-filed rule based on forum shopping, anticipatory
conduct, or when other special circumstances justify giving priority to the second action.”).

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No. 11-cv-8751, 2012 WL 844284, at *3 (S.D.N.Y. Mar. 13, 2012) (“For the rule to apply,

the claims, parties, and available relief must not significantly differ between the

actions. . . . [T]he named parties need not be entirely the same provided that they

represent the same interests.” (cleaned up)); see Ritchie Capital Mgmt., L.L.C. v. BMO

Harris Bank, N.A., 868 F.3d 661, 664 (8th Cir. 2017) (“[T]he [abstention] standard does

not require precise identity between the parties and actions; abstention can be warranted

when proceedings are duplicative because of the overlapping issues and parties.”).

       B.     Similarity of the Claims

       Unlike the parties, the claims of the parties are not so similar and Dominion

provides this Court with little support that such claim similarity exists. Dominion sued My

Pillow in the District of Columbia for defamation and deceptive trade practices, claims

arising out of Lindell’s alleged comments about the accuracy and reliability of Dominion’s

voting machines. Lindell’s comments allegedly conveyed that Dominion was responsible

for “stealing the 2020 election” because there was “100% proof” that “the algorithms

broke” in “the Dominion machines” “on election night.” Compl. 29, D.D.C. Dkt. No. 1.

Because Dominion’s machines were “the biggest cheat, the biggest steal,” Lindell stated,

Dominion was responsible for “vote fraud in the recent election.” Id. ¶¶ 94, 100.

       In this action My Pillow alleges that Dominion’s contracts with various governments

to administer public elections renders it a governmental actor, in which capacity Dominion

has used “aggressive litigation, threats of litigation, and publicization of these activities

. . . [to] stop criticism of election voting systems and suppress information about how its

machines have been hacked in American elections.” Compl. ¶¶ 24–29, 70, Dkt. No. 1. My

Pillow alleges that Dominion’s actions since the 2020 election—including its D.C.



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litigation—“censor, attack, and destroy anyone who questions the 2020 election and

voting machine hacking and manipulation.” Id. at 31. My Pillow argues that the initiation

of the D.C. action is only one example of Dominion’s conduct, and that there is

considerable additional conduct by Dominion for which My Pillow has brought suit.

       Though this lawsuit and the D.C. action are connected and the claims in each are

factually related, they are legally distinct. At the hearing, Dominion was unable to

articulate any substantial similarity or overlap between the claims. Olson v. Brott, No. 09-

cv-790, 2009 WL 4912135, at *6 (D. Minn. Dec. 11, 2009) (“If . . . the record action does

not involve the same . . . controversy as the first, the rule against duplicative litigation will

not apply . . .”). Accordingly, it does not appear to this Court that the lawsuits are truly

duplicative even though they may not be entirely unrelated. Dominion argues that

conserving both judicial and litigant resources and avoiding inconsistent rulings requires

a stay here. Thus, regardless whether the actions are or are not truly duplicative, this

Court will analyze whether efficiency and consistency compel a stay.4

III.   Balance of Interests

       Though Dominion asserts there is substantial overlap between this case and the

D.C. action, it does not explain how they are similar or why they overlap⎯it just concludes

that they are. See Defs.’ Mem. 5–9, Dkt. No. 24.




4 As explained above, many factors courts consider in deciding whether to stay litigation
focus on judicial economy, such as docket control and conserving judicial resources. But
courts balance those interests only after determining that the litigation is duplicative (i.e.,
that there is substantial overlap). See, e.g., QFO Labs, Inc. v. Best Buy Stores, L.P., Nos.
17-cv-5011, 17-cv-5012 & 17-cv-5014, 2018 WL 3966313, at *5–7 (D. Minn. Aug. 17,
2018) (balancing the interests to decide whether to dismiss, transfer, or stay the
duplicative litigation only after first finding that the cases substantially overlapped).
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       First, Dominion argues that “a stay will conserve judicial resources and avoid the

inevitable inefficiencies that will result in allowing these overlapping matters to proceed in

parallel.” Id. at 5. Supporting that argument, Dominion gives the example that the D.C.

court “will need to address the legal sufficiency of Dominion’s defamation claim against

My Pillow and Lindell” and “resolve questions about personal jurisdiction and venue.” Id.

From this, it concludes that the D.C. court’s resolution of those questions will impact the

legal issues this Court will need to address. Id. But again, Dominion does not explain how

that is or how staying this action will conserve resources.

       This Court sees the matter differently. To illustrate, if the D.C. court dismisses the

D.C. action for failure to state a claim or lack of personal jurisdiction, Dominion will

necessarily need to respond to the complaint here. If the D.C. court denies the motion to

dismiss the D.C. action, this lawsuit will still exist and Dominion must still respond to the

complaint in some fashion. The heart of Dominion’s argument seems to be a concern

arising out of the possibility of venue transfer. But again, this concern is largely illusory. If

the D.C. court denies transfer, this action exists independent of the D.C. action. If the

D.C. court transfers that action to the District of Minnesota, Dominion will still have to

respond to My Pillow’s claim here even if the cases are later consolidated.

       Dominion also posits the possibility of dueling motions to transfer with the D.C.

action being transferred here and this action being transferred to D.C. The specter of this

highly unlikely occurrence is no ground on which to stay the present action. Even if

Dominion were to file a motion to transfer this action to the district court in D.C., this Court

has little doubt that the district judge in D.C. and the district judge here will find a way to

avoid conflicting transfers.



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       Dominion’s argument may stem from a belief that My Pillow’s action here turns on

the merits of the D.C. action. See Defs.’ Mem. at 5, Dkt. No. 24 (“. . . Dominion’s

defamation [suit] against My Pillow and Lindell (which, again, is the purported basis for

My Pillow’s suit here)”). But My Pillow’s claims here stem from a whole series of actions

by Dominion that include, but are by no means limited to, its commencement of the D.C.

action. Beyond the filing of the D.C. action, My Pillow pleads that Dominion has engaged

in an orchestrated campaign of intimidation and aggressive litigation, all of which are

separate from the filing of the D.C. action. E.g., id. ¶¶ 7, 8, 10, 70. Indeed, My Pillow

references the D.C. action in only one of the five claims it pleads: abuse of process (Count

5). Compl. ¶¶ 122–131. In short, any issues this Court would need to resolve, at this stage

of the case, are substantially different from those which the D.C. court will likely address

on the motion currently pending.

       Dominion next argues that a “stay will assist the Court in controlling its docket.” Id.

For this, it cites My Pillow’s other case in this District and highlights that Lindell has not

yet served Dominion in that action. It argues that the Court will need to “consider whether

to consolidate these related cases and set a briefing schedule that jointly and efficiently

manages the Court’s resources and docket and allows for a streamlined and efficient

schedule.” Id. at 5–6. Though this may be true, it does not follow that staying this matter

pending the motion in the D.C. action somehow enhances the Court’s management of

this concern. The argument is a non- sequitur. Dominion must nonetheless respond to

the claims raised in both Minnesota complaints and no motion for consolidation has been

filed. Whatever marginal efficiency, if any, is gained by granting Dominion’s stay on this

ground is an insufficient reason to delay this action (which Dominion’s motion expressly



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ties to the resolution of the D.C. motion). The existence of the unserved Minnesota

complaint does not create complexities in docket management that exceed this Court’s

capabilities.

       Finally, Dominion argues that “a stay will advance the just determination of this

case.” Id. at 6. It alleges that if this case were to proceed independent of the D.C. action,

a merits decision here would require this Court to evaluate the merits of the D.C. action.

Id. As support for this assertion, Dominion argued at the hearing that cases in this District

are trial ready sooner than cases in the District of the District of Columbia. Once again,

Dominion has concocted a scenario that is unlikely to occur and, should it threaten to do

so, is not beyond this Court’s ability to properly manage its docket when and if the time

comes.

       The D.C. action is one component of the claims My Pillow pleads here. If the D.C.

court dismisses the D.C. action, that may (or may not) bolster My Pillow’s abuse of

process claim. If the D.C. court denies the motion to dismiss at the pleading stage, that

fact may (or may not) be of significance to this Court when and if it is called upon to

resolve the merits of My Pillow’s abuse of process claim. Either way, at present, Dominion

has neither filed a motion to dismiss this claim nor even represented to this Court that it

will do so. Again, when and if there is an actual risk of inconsistent rulings based on legal

arguments raised in actual court filings, this Court and the D.C. court will no doubt find a

way to engage in the comity which may then be necessary. In the meantime, this Court

will not prejudice Plaintiff’s right to prosecute this action based on purely hypothetical

concerns that have not materialized. At present, there is no good reason to stay

Dominion’s obligation to respond to this complaint.



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       Balanced against the marginal efficiency to be gained by staying Dominion’s

response to the complaint (if extant at all) is the inherent prejudice to Plaintiff of granting

this stay of unknown duration. Stays of litigation are inherently prejudicial to a plaintiff.

Jones, 72 F.3d at 1363 (Beam, J., concurring). Here, there is no discernable benefit to be

gained that will offset this prejudice. When and if the progress of this case and of the D.C.

action collide or create a significant inefficiency or risk of inconsistent rulings, the question

of a stay can be revisited. Whenever that day comes, if it does, it is not today.

       Staying litigation is the exception, not the rule, and Dominion has offered no

compelling justification to stay it answering the complaint. Similarly, this Court finds no

appreciable risk of inconsistent rulings and no great waste of judicial or litigant resources

to warrant a stay.

IV.    Extension

       Alternatively, Dominion asks that this Court extend its deadline to answer for thirty

days after the Court issues this order. Defs.’ Mot. at 2, Dkt. No. 22. Under Federal Rule

of Civil Procedure 6(b), a court may exercise its discretion and extend a deadline “for

good cause.” Courts evaluate good cause on case-by-case basis and there is no concrete

definition of what constitutes good cause. In re CenturyLink Sales Practices and Sec.

Litig., No. 17-mdl-2795, 2019 WL 4082945, at *2 (D. Minn. Aug. 29, 2019). Dominion’s

answers were due, at the latest, on May 19. See Dkt. Nos. 4–6. At Dominion’s request,

Plaintiff stipulated to extend Dominion’s time to answer more than a month, to June 21.

Defs.’ Mot. Extn., Dkt. No. 8. As of the date of this order Dominion has already had the

complaint in this action for more than 60 days.




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      Dominion has offered no good cause to delay its response to the complaint for

another 30 days when it has already had the complaint for two months. The request for

an additional 30 days is denied.

                                       ORDER

      For these reasons, IT IS HEREBY ORDERED:

      1.     Defendants’ Motion to Stay [Docket No. 22] is DENIED.

      2.     Defendants’ Motion to Expedite Hearing [Docket No. 21] is DENIED AS

MOOT.

      3.     Defendants shall respond to the complaint by July 6, 2021.


Dated: June 28, 2021                          __s/David T. Schultz_________
                                              DAVID T. SCHULTZ
                                              United States Magistrate Judge




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